                                                                                                  FILED
                      UNITED STATES DISTRICT COURT                                                    JUL   -2   2020
                                        WESTERN DISTRICT OF TEXAS                           CLERK, U.S. DISTRICT CORT
                                                                                                               OF TEXAS
         UNITED STATES OF AMERICA                                                            BY____________________
                                                                                                            DEPUTY CL

                               V.
                                                                       CRIMINAL COMPLAINT
         CECILY ANN AGUILAR


                                                                       CASE NUMBER:        Ij.)   O    \    v"
          I,   the undersigned complainant being duly sworn, state the following is true and

correct to the best of my knowledge and belief.

          From on or about April 23, 2020 through June 30, 2020, in Bell County, in the

Western District of Texas, defendant(s), did unlawfully and willfully combine,

conspire, confederate and agree together and with others to corruptly alter,

destroy, mutilate, and conceal an object, or attempt to do so, with the intent to

impair its integrity and availability for use in an official proceeding,                          in violation   of

Title 18, United States Code, Sections 151 2(c)(1) and (k).

          I    further state that   I   am a(n) Special Agent, Federal Bureau              of Investigation,

and that this complaint is based on the following facts:

          SEE ATTACHED AFFIDAVIT

continued on the attached sheet and made a part hereof: YES



                                                                      V            S pe cia Age nt
                                                   Fed _____           u   orsti a
Sworn to before me and subscribed in my presence,

 July 2, 2020                                      Waco, Texas
Date                                               City and State
Jeffrey C Manske                                         /                          '
U S Magistrate Judge
Name & Title of Judicial Officer                   Signature of Judicial Officer
                                             United States District Court

                                       Western District of Texas, Waco Division

1.   I,   Jonathan W. Varga, having been duly sworn, depose and say the following       is   true according to
     my knowledge and belief:


2.   Your Affiant   is a   Special Agent (SA) of the Federal Bureau of Investigation (FBI), United States
     Department of Justice.       I   have been employed as a SA of the FBI for over 16 years and am
     currently assigned to the San Antonio Division, Waco Resident Agency (WRA) in Waco, Texas.               I


     am currently assigned to a violent crime squad where my responsibilities include enforcing
     federal criminal statutes, including investigating violent crimes (to include murder, witness
     tampering, obstruction of justice, and conspiracy to commit a crime) occurring within the Fort
     Hood military installation. Fort Hood is a place of special maritime and territorial jurisdiction for
     the federal government. As part of these duties, your Affiant has become involved in the
     investigation of suspected violations of Title 18, United States Code, § 1512(c) and (k), that is,
     conspiracy to corruptly alter, destroy, mutilate, or conceal an object, or attempts to do so, with
     the intent to impair the object's integrity or availability for use in an official proceeding. The
     facts in this affidavit come from your Affiant's personal observations, his training and
     experience, and information obtained from other law enforcement officers and witnesses.


3.   Your Affiant is currently involved with       US   Army Criminal Investigative Command (USACID), Texas
     Rangers, US Marshal's Service (USMS), and other agencies regarding the activities US Army
     Specialist Aaron Robinson and Cecily Aguilar.


4.   The statements contained in this affidavit are based on information provided to your Affiant by
     other law enforcement officers who investigate these types of crimes and through his personal
     investigation. Your Affiant has set forth herein the facts I believe are necessary to establish
     probable cause that said violation does exist.


5.   Since this affidavit is being submitted  for the limited purpose of securing an arrest warrant, your
     Affiant has not included each and every fact known to him concerning this investigation. Your
     affiant has set forth only facts that I believe are necessary to establish probable cause.

                                         Background of the Investigation

1.   On 04/23/2020, USACID was notified by a Captain in the Regimental Provost Marshal, 3rd
     Cavalry Regiment, Fort Hood, TX (FHTX), that Private First Class (PFC) Vanessa Guillen had been
     reported missing by her unit.


2.   A witness stated that PFC Guillen left the arms room where she was working         to visit the arms
     room at another location at Fort Hood, one controlled by Specialist (SPC) Aaron Robinson, in
     order to confirm serial numbers for weapons and equipment. The witnesses verified that             PFC
     Guillen left the arms room without her US Army identification card, bankcard, or car keys with
     her barracks key attached. The witness stated that her property was still in the arms room
     when he secured the arms room for the day.


3.   A search  of PFC Guillen's phone records revealed the last outgoing text message from her phone
     was a message to SPC Robinson's phone. SPC Robinson was one of the last people known to
     have seen PFC Guillen. On 04/22/2020, SPC Robinson stated he texted PFC Guillen to inform her
     he was in the arms room. He said she read serial numbers for equipment and afterward, he gave
     her paperwork and the serial number for a .50 caliber machine gun which needed to be
     serviced. He said she left the arms room and he believed she would have next gone to the motor
     pooi. Witnesses at the motor pooi prepared to receive the paperwork from PFC Guillen stated
     she did not arrive with the papers.


4.   On 04/28/2020, USACID interviewed SPC Robinson. Among the things he said concerning his
     activities on 4/22/2020,   SPC   Robinson stated that after he finished his work, he went to his off-
     post residence he shared with his girlfriend Cecily Aguilar, and did not leave the rest of the
     night, except around 6:30pm when he had to come on post to sign on to            a   government
     computer to enroll in training.


5.   On 05/18/2020, two witnesses were interviewed who stated             that on 4/22/2020, they observed
     SPC   Robinson pulling a large "tough box," with wheels, that appeared very heavy in weight,
     coming out the arms room, the same room where SPC Robinson worked. The two witnesses
     observed   SPC   Robinson load the "tough box" into his vehicle and drive away.


6.   On 05/19/2020, SPC Robinson consented        to a search of his cellular phone by UFED extraction. A
     review of the phone call logs revealed    SPC Robinson called Aguilar multiple times during the
     night of 04/22/2020, and as late as    03:3Oam on 04/23/2020. SPC Robinson also received calls
     from Aguilar throughout the day.

7.   Cecily Aguilar, girlfriend of SPC Robinson, was interviewed on 06/19/2020. Aguilar stated she
     was with SPC Robinson all night on 04/22/2020. She was asked why SPC Robinson would call her
     after midnight if he was at the residence with her. She stated she could not find her phone and
     had SPC Robinson call the phone to help her find it. This statement, however, is inconsistent
     with the lengths of the calls. SPC Robinson called Aguilar several times throughout the night and
     the calls after midnight were for lengths greater than one minute.


8.   Aguilar, during a re-interview, stated that she lied in her previous statement. She stated that she
     did leave her residence because one of the ways she copes       is   by taking long drives. Aguilar
     stated that she was with   SPC   Robinson on the night of 04/22/2020 where they took a long drive
     to a park in Belton, Texas to look at the "stars." Aguilar stated that after going to the park they
     returned home.
9.   An analysis of phone records pertaining to SPC Robinson's telephone was conducted. A review
     of the location data revealed that at approximately 1:59am, 04/23/2020, SPC Robinson's cell
     phone was identified in the vicinity of FM 436 and West Main St, in Belton, TX; specifically, on or
     around a bridge. SPC Robinson's cell phone then tracked along the Leon River in a "northward
     direction." SPC Robinson's cell phone remained in the area for approximately 2 hours.

10. Aguilar's cellular telephone location data was also analyzed later and it revealed she and SPC
     Robinson were near the Leon River together on 04/23/2020 and 04/26/2020.


11. Based upon this data, personnel  from USACID, Bell County Sherriff's Office (BCSO), and Texas
     Rangers, searched the Leon River site in Belton, Texas on June 21, 2020. A burn site with
     disturbed earth was identified. What appeared to be the burned remains of a plastic tote or
     tough box were found nearby in an area near where SPC Robinson's phone pinged. The soil
     beneath the burn site was remarkably softer and moister than the soil found at similar depths
     merely feet away and had an odor of decomposition. However, no remain were located.


12. About 1:00pm, 06/30/2020, USACID was notified      that contractors working on a fence adjacent
     to the Leon River in Belton, TX, discovered what appeared to be human remains. USACID, along
     with FBI, BCSO, USMS, and TX Rangers, searched the area, and identified scattered human
     remains that appeared to have been placed into a concrete-like substance and buried.


13. About 8:30pm, 30 June 2020, Aguilar was interviewed and admitted         that SPC Robinson told her
     that on 4/22/2020, he struck a female soldier in the head with a hammer multiple times at his
     arms room, killing her on Fort Hood. Affiant knows that this arms room is located within the
     special maritime and territorial jurisdiction of the United States and in an area of exclusive
     federal jurisdiction. Aguilar advised the female soldier never made it out of the Army alive
     (referring to Fort Hood). SPC Robinson then placed her in a box and moved the box to a location
     near the Leon River in Belton, Texas. Paragraphs 14 through 19 are a summary of Aguilar's
     statements to law enforcement on 30 June 2020.


14. On the evening    of 4/22/2020 or the early morning of 4/23/2020, SPC Robinson picked Aguilar up
     at a gas station she worked at and took her out to a site near the Leon River and near a bridge.
     A box with wheels and handles was already at this site. SPC Robinson walked Aguilar over to the
     woods and opened up a box for Aguilar and she saw a dead female inside the box. Aguilar, on a
     later date, identified the dead female as Vanessa Guillen.


15. To more easily dispose   of and to conceal the body of the dead female,   SPC   Robinson and Aguilar
     proceeded to dismember the dead female's body. They used      a   hatchet or ax and   a   machete type
     knife. They removed the limbs and the head from the body.    SPC   Robinson and Aguilar
     attempted to burn the body; however, the body would not burn completely. They placed the
     dead female in three separate holes and covered up the remains.
16. SPC Robinson and Aguilar returned   to the site on a later date. This date was believed to be on
    04/26/2020 according to cellular telephone site analysis. Prior to their return, they obtained
    hairnets and gloves. Aguilar purchased a bag of what she referred to as concrete from someone
    utilizing Facebook messenger.


17. On  that date, SPC Robinson and Aguilar uncovered the remains of the dead female, removed
    them, and continued the process of breaking down the remains of the dead female. The remains
    were then burned again along with their gloves and hairnets. SPC Robinson and Aguilar placed
    the remains back in the three holes with the concrete purchased earlier.


18. SPC Robinson and Aguilar burned       their clothes later that night at their residence.

19. SPC Robinson and Aguilar concocted the story about Aguilar and Robinson taking a long drive               to
    a   park in Belton (see paragraph 8) as an alibi.


20. Prior to June 30, 2020, SPC Robinson had been confined to his barracks room on Fort Hood;
    however, he absconded from Fort Hood that night. At the request of law enforcement, Aguilar
    placed   a   controlled telephone call to   SPC Robinson wherein he never denied anything they did
    to Vanessa Guillen and her body. SPC        Robinson texted Aguilar pictures of the news articles
    advising of recovered human remains. In        a   later controlled telephone call,   SPC Robinson
    advised, "baby they found pieces, they found pieces". This was referring to the human remains
    recovered near the Leon River.


21. Aguilar continued to assist law enforcement with locating SPC Robinson as he was on             foot in
    Killeen, Texas. SPC Robinson was approached by law enforcement; however, he brandished a
    pistol and shot himself in the head, killing himself.


22. The identification    of the human remains recovered        is   still pending.
                                                      Conclusion


1.   Based upon the aforementioned facts, there is probable cause     to believe that a violation of Title 18,
     United States Code, § 1512 (c) and (k), that is, conspiracy to corruptly alter, destroy, mutilate, or
     conceal an object, or attempts to do so, with the intent to impair the object's integrity or
     availability for use in an official proceeding was committed by Cecily Aguilar. Additionally, the
     original offense of murder was committed on the Fort Hood military installation, located within the
     Waco Division of the Western District of Texas, a place of special maritime and territorial jurisdiction
     of the federal government. A murder at Fort Hood, and any related obstruction offenses, would be
     pursued as a criminal proceeding in United States District Court, Western District of Texas.


2.   Accordingly, your Affiant respectfully requests that an arrest warrant be issued for Cecily Aguilar.




FURTHER AFFIANT SAYETH NAUGHT.




                                                                                  ,SpAgent
                                                           Federal Bureau of Investigation

SUBSCRIBED AND SWORN TO before me on          the   Z.      day of July, 2020.




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                                                          'HONORABLE JEFFREY C                 MANSKE

                                                           UNITED STATES MAGISTRATE JUDGE
